           Case 1:20-vv-00125-UNJ Document 40 Filed 07/22/22 Page 1 of 7




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 21-0125V
                                          UNPUBLISHED


    TAMMIE ATTAWAY,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: June 22, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Tetanus
    HUMAN SERVICES,                                             Diphtheria acellular Pertussis (Tdap)
                                                                Vaccine; Shoulder Injury Related to
                         Respondent.                            Vaccine Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION1

        On February 4, 2020, Tammie Attaway filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered left shoulder injuries related to vaccine
administration (“SIRVA”) as a result of a tetanus diphtheria acellular pertussis (“Tdap”)
vaccine received on January 8, 2019. Petition at 1; Stipulation, filed June 21, 2022, at
¶¶ 2-4. Petitioner further alleges that the vaccine was administered in the United States,
her symptoms have continued for more than six months, and neither Petitioner nor any
other party has ever received compensation in the form of an award or settlement for her
vaccine-related injury. Petition at ¶¶ 10-11; Stipulation at ¶¶ 3-5; Ex. 1 at 1. “Respondent
denies that petitioner sustained a SIRVA Table injury; denies that the vaccine caused
petitioner’s alleged shoulder injury, or any other injury; and denies that her current
condition is a sequela of a vaccine-related injury.” Stipulation at ¶ 6.
1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
          Case 1:20-vv-00125-UNJ Document 40 Filed 07/22/22 Page 2 of 7




       Nevertheless, on June 21, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $100,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    2
      Case 1:20-vv-00125-UNJ Document 40 Filed 07/22/22 Page 3 of 7




                IN fflE UNITED STA TES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                                     )
 TAMMTE ATTAWAY,                                     )
                                                     )
                 Petitioner,                         )
                                                     )    No. 20-125V
 v.                                                  )    Chief Special Master Corcoran
                                                     )    ECF
 SECRETARY OF HEALTH AND HUMAN                       )
 SERVICES,                                           )
                                                     )

________________
     Respondent.                                     )
                                                     )

                                         STIPULATION

        The parties hereby stipulate to the following matters:

        l. Tammie Attaway, petitioner, f11ed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to -34 (the ''Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of the Tetanus-diphtheria-acelhllar pertussis ("Tdap") vaccine, which vaccine   ~   contained in the

Vaccine Injury Table (the ..Table"), 42 C.F.R. § 100.3(a).

        2. Petitioner received the Tdap vaccination in her left arm on January 8, 2019.

        3. The vaccine was achnirmtered within the United States.

       4. Petitioner alleges that she sustained a Shoulder Injury Related to Vaccine

Administration r'SIRVA") within the tine period set forth in the Table. She further alleges that

she experienced the effects of this condition for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on her behalf as a result of her condition.
       Case 1:20-vv-00125-UNJ Document 40 Filed 07/22/22 Page 4 of 7



            6. Respondent denies that petitioner sustained a SIRVA Table injury; denies that the

 vaccine caused petitioner's alleged shoulder injury, or any other injury; and denies that her

 current condition     ~   a sequeJa of a vaccine-related injury.

            7. Maintaining their above-stated positions, the parties nevertheless now agree that the

 issues between them shall be settled and that a decision should be entered awarding the

compensation descnbed in paragraph 8 of th~ Stipulation.

            8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the tenns of this Stipulation, and after petitioner has filed an election to receive compensation

pmsuant to 42 U.S.C. § 300aa-2l(a)(l), the SecretaryofHeahh and Human Services will issue

the following vaccine compensation payment:

            A bJmp sum of $100,000.00 in the form of a check payable to petitioner. This
            amowit represents compensation for all damages that would be available tmder 42
            U.S.C. §300aa-15(a).

            9. As soon as practicable after the entry ofjudgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2l(a)(l), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys• fees and costs incurred in proceeding upon this

petition.

        10. Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any ite~ or services for which the Program is not primarily liable

tmder 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made Wlder any State compensation programs, insurance policies, Federal or

State heahh benefits programs (other than Title XIX of the Social Security Act(42 U.S.C.

§ 1396 et seq.)), or by entities that provide heahh services on a pre-paid basis.



                                                       2
      Case 1:20-vv-00125-UNJ Document 40 Filed 07/22/22 Page 5 of 7



         I 1. Payment made pmsuant to paragraph 8 of this Stipulation, and any amounts awarded

 pursuant to paragraph 9 of um Stipulation, will be made in accordance with 42 U.S.C. § 300aa-

 15(i), subject to the availability of sufficient statutory ftmds.

         12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner, as contemplated by a

strict construction of 42 U.S.C. § 300aa-lS(a) and (d), and subject to the conditions of 42 U.S.C.

§§ 300aa-15(g) and(h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individua 1 capacity and on behalf of her heirs, executors, administrators, successors or assj.gns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and an actions, causes of action (including

agreements, judgments, claims, damages, loss of services, expenses and all demands of whatever

kind or nature) that have been brought, could have been brought, or could be timely brought in

the Court of Federal Claims, llllder the National Vaccine Injury Compensation Program, 42

U.S.C. § 300aa 10 et seq., on account of, or in any way growing out of, any and all known or

unknown, suspected or unsuspected personal injuries to or death of petitioner resulting from, or

alleged to have resulted from, the Tdap vaccine administered on or about January 8, 2019, as

alleged by petitioner in a petition for vaccine compensation filed on February 4, 2020, in the

United States Court of Federal Claims as petition No. 20-J25V.

        14. If petitioner should die prior to entry ofjudgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.




                                                   3
         Case 1:20-vv-00125-UNJ Document 40 Filed 07/22/22 Page 6 of 7




            15. If the special master fails to issue a decisic>n in complete conformity with the temlS

    of this Stipulation or if the Court of Federal Claims fa& to enter judgment in confonnity with a

    decision that is in complete confonnity with the terms of this Stipulation, then the parties'

    settlement and this Stipulation shall be voidable at the sole discretion of either party.

            16. This Stipulation expresses a full and complete negotiated settlement of liability and

    damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

    as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part ofthe

    parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and tmderst.and that the award descri>ed in tlm

stipulation may reflect a compronme of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the natme of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

           17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Hea1th and Human Services that the Tdap vaccine caused petitioner to suffer a

shoulder injury or her current disabilities, or any other injury or condition, or that petitioner

sustained an injury contained in the Vaccine Injury Table.

           18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                        END OF STIPULATION

I

I

I

I


                                                     4
     Case 1:20-vv-00125-UNJ Document 40 Filed 07/22/22 Page 7 of 7



Respectfully submitted,


PETITIONER:




ATTORNEYOFRECORDFOR                                  AUfflORIZED REPRESENTATIVE
PETITIONER:                                          OF THE ATTORNEY GENERAL:




LEAH V.DURANT                                        HEATHERL.PEARLMAN
 Law Offices of Leah V. Durant, PLLC                 Deputy Director
 1717 KStreetN.W.                                    Torts Branch
•suite 900                                           Civil Division
 Washington, DC 20006                                U.S. Department of Justice
 (202) 775-9200                                      P.0.Box 146
 ldurantr,£ durantllc.com                            Benjamin Franklin Station
                                                     Washington, DC 20044-0146


AUTHORIZED REPRESENTATIVE                            ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEAL111                          RESPONDENT:
AND HUMAN SERVICES:
                     Oigi~lly signed by George
George R•            R. Grimes -S14
Grimes _514          :~~~022.05_3121:45:23

CDR GEORGE REED GRIMES, MD, .:MPH                    C       LEM COLL
Director, D~ion of Injury                            Trial A orney
 Compensation Programs                               Torts Branch, Civil Division
Health Systems Bureau                                U.S. Department of Justice
Health Resources and Services                        P.O. Box 146
 Admin5tration                                       Beajamin Franklin Station
U.S. Department ofHeahh                              Washington, DC 20044-0146
 and Human Services                                  Tel: (202) 616-4098
5600 Fishers Lane, 08N146B                           E-mail: Camille.M. Collett@usdoj.gov
Rockville, MD 20857


Dated:


                                                 5
